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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
___________________________________
                                    )
HEALTH REPUBLIC INSURANCE           )
COMPANY,                            )
                                    )
                  Plaintiff,        )
                                    )
            v.                      ) No. 16-259
                                    )
THE UNITED STATES,                  ) Filed: August 18, 2023
                                    )
                  Defendant.        )
___________________________________ )

                                            ORDER
        On August 15, 2023, Plaintiff filed a Motion for Leave to Distribute Funds to the Dispute

Subclass, consisting of Colorado Health Insurance Cooperative, Inc. (“Colorado HealthOp”). See

ECF No. 208. Plaintiff advises that on August 9, 2023, the claims administrator retained by Class

Counsel received full payment owed to Colorado HealthOp in the amount of $110,601,107.74. Id.

at 1. Plaintiff notes Class Counsel’s stipulated motion requesting 5% of the judgment as attorneys’

fees is pending. Id. Plaintiff and Class Counsel seek leave of Court to distribute 95% of the funds

in the amount of $105,071,052.36 to Colorado HealthOp and hold the remaining 5% in escrow

pending resolution of the attorneys’ fees motion. Id. at 1–2. The Government takes no position

on this request. Id. at 2.

        Having found good cause exists, the Court GRANTS Plaintiff’s motion. The claims

administrator may proceed with distributing 95% of the funds to Colorado HealthOp and holding

the remaining 5% in escrow pending resolution of the fee petition.

        SO ORDERED.


Dated: August 18, 2023                               /s/ Kathryn C. Davis
                                                     KATHRYN C. DAVIS
                                                     Judge
